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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 BLACK LIVES MATTER D.C., et al.,
                        Plaintiffs,
                v.                                         Case No. 1:20-cv-01469-DLF



 DONALD J. TRUMP, et al.,
                        Defendants.

    JOINT MOTION FOR EXTENDED BRIEFING SCHEDULE ON MOTION TO
 DISMISS BY INDIVIDUAL FEDERAL DEFENDANTS COX, DANIELS, FELICIANO,
  HENDRICKSON, JARMUZEWSKI, MCDONALD, SEIBERLING, AND SINACORE

       Plaintiffs Black Lives Matter D.C., Toni Sanders, J.N.C., Kishon McDonald, Garrett

Bond, Keara Scallan, Lia Poteet, Dustin Foley, and E.X.F. (“plaintiffs”), and Defendants Sean

Cox, Jonathan Daniels, Luis Feliciano, Jeffrey Hendrickson, Nicholas Jarmuzewski, Bryan

McDonald, Cara Seiberling, and Lawrence Sinacore, as sued in their individual capacity

(“individual federal defendants”) (collectively with plaintiffs, “the parties”), respectfully move

this Court to establish the extended briefing schedule set forth below for the above-named

individual federal defendants’ motion to dismiss the complaint, which would extend the time for

the motion, the opposition, and the reply.

       On December 21, 2020, the parties jointly moved this Court for a briefing schedule,

whereby the individual federal defendants would file their joint motion to dismiss on or before

January 29, 2021, plaintiffs would file their opposition on or before March 5, 2021, and the

individual federal defendants would file their reply on or before April 2, 2021. See ECF No. 130.

The parties also moved for extended page limits for their respective filings. See ECF No. 130.

       On December 26, 2021, this Court granted the parties’ motion in part and set a briefing

schedule whereby the individual federal defendants’ motion to dismiss would be due on or

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before January 22, 2021, plaintiffs’ opposition would be due on or before February 19, 2021, and

the individual federal defendants’ reply would be due on or before March 12, 2021. This Court

also granted the parties’ requested page limit extensions.

         On January 20, 2021, due to the change in administration, there was new leadership at the

Department of Justice. The above-named individual federal defendants request additional time

so that new Department of Justice officials have sufficient time to become familiar with the

issues in this case. Plaintiffs seek a corresponding extension of time to file their opposition

papers, and hence the individual federal defendants also seek an extension of time to file their

reply.

         Accordingly, the parties seek a twenty-five (25) day extension of the current briefing

deadlines and ask the Court to order an extended briefing schedule as follows:

         (1)    Motion to Dismiss for the individual federal defendants due February 16, 2021;

         (2)    Opposition to Motion to Dismiss due March 16, 2021; and

         (3)    Reply due April 6, 2021.

         The parties jointly and respectfully request that the Court enter the attached proposed

order.

Dated: January 21, 2021
                                               Respectfully submitted,


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                                               /s/ John B. F. Martin
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 BLACK LIVES MATTER D.C., et al.,
                         Plaintiffs,
                  v.                                      Case No. 1:20-cv-01469-DLF



 DONALD J. TRUMP, et al.,
                         Defendants.

                                       [Proposed] ORDER

          Upon consideration of the Joint Motion For Extended Briefing Schedule On Motion to

Dismiss by Individual Federal Defendants Cox, Daniels, Feliciano, Hendrickson, Jarmuzewski,

McDonald, Seiberling, and Sinacore, and the entire record, it is hereby

          ORDERED, that the Motion is GRANTED;

          ORDERED, that the briefing schedule—but not the page limit extensions—entered as to

Individual Federal Defendants Cox, Daniels, Feliciano, Hendrickson, Jarmuzewski, McDonald,

Seiberling, and Sinacore in the December 26, 2020 minute order is hereby VACATED; and it is

further

          ORDERED, that the following briefing schedule is entered:

          (1)    Motion to Dismiss for Defendants Cox, Daniels, Feliciano, Hendrickson,
                 Jarmuzewski, McDonald, Seiberling, and Sinacore due February 16, 2021;

          (2)    Opposition to Motion to Dismiss due March 16, 2021; and

          (3)    Reply due April 6, 2021.

It is so ORDERED.

Date: _______________
                                                            The Honorable Dabney L. Friedrich
                                                            United States District Judge

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